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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                         CASE NO. 1:15-CR-00179-LJO-SKO

12                                         Plaintiff,

13                              v.                      ORDER FOR FORFEITURE MONEY
                                                        JUDGMENT
14    JOHN THOMAS TERRENCE,

15                                         Defendant.

16

17           Based upon the United States’ Application for Forfeiture Money Judgment and the plea

18   agreement entered into between plaintiff United States of America and defendant John Thomas

19   Terrence,

20           IT IS HEREBY ORDERED that

21           1.       Defendant John Thomas Terrence shall forfeit to the United States an amount

22   equal to the restitution ordered by the Court, less any forfeited funds, and the Court imposes a

23   personal forfeiture money judgment against the defendant in that amount.

24           2.       Any funds applied towards such judgment shall be forfeited to the United States of

25   America and disposed of as provided for by law. Prior to the imposition of sentence, any funds

26   delivered to the United States to satisfy the personal money judgment shall be seized and held by

27   the United States Marshals Service, in its secure custody and control.

28   ///
     ORDER FOR FORFEITURE MONEY JUDGMENT                1
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 1           3.       This Order of Forfeiture shall become final as to the defendant at the time of

 2   sentencing and shall be made part of the sentence and included in the judgment.

 3           4.       In accordance with Rule 32.2(b)(3), the United States, in its discretion, shall be

 4   allowed to conduct discovery, including but not limited to serving Interrogatories, Requests for

 5   Admissions, Requests for Production of Documents, the taking of depositions, and the issuance of

 6   subpoenas, in order to identify, locate or dispose of property to satisfy the money judgment.

 7           5.       The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

 8   Order of Forfeiture to substitute property having a value not to exceed the amount equal to the

 9   restitution ordered by the Court to satisfy the money judgment in whole or in part.

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     IT IS SO ORDERED.
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12       Dated:      August 19, 2018                          /s/ Lawrence J. O’Neill _____
                                                     UNITED STATES CHIEF DISTRICT JUDGE
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     ORDER FOR FORFEITURE MONEY JUDGMENT                 2
